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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                          CASE NO: 6:24-cr-91-WWB-EJK

ISAIAH J HAYES


                                    REPORT AND RECOMMENDATION
                                     CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Fed. R. Crim. P. 11,

Local Rule 1.02, and In re: Utilization of Magistrate Judges, Case No. 3:21-mc-1-TJC at docket

no. 127 (Feb. 9, 2024), and has entered a plea of guilty to Count FIFTEEN of the Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the Defendant entered the plea of guilty knowingly and

voluntarily and that there is a factual basis for the plea. I therefore recommend that the plea of

guilty be accepted. The Defendant remains on conditions of release pending sentencing.

Date: December 17, 2024




                                                  NOTICE
        A party waives the right to challenge on appeal a finding of fact or conclusion of law adopted by

the district judge if the party fails to object to that finding or conclusion within fourteen days after issuance

of the Report and Recommendation containing the finding or conclusion.

Copies furnished to:

Counsel of Record
